Case 2:07-cr-00125-RBS-TEM Document 118 Filed 04/21/08 Page 1 of 1 PageID# 393


                                                                                    i       FILED
                              UNITED     STATES   DISTRICT         COURT
                              EASTERN DISTRICT          OF VIRGINIA                       APR 2 1 2008
                                       Norfolk Division

                                                                                  CLERK, US DISTRICT COURT
                                                                                          NORFOLK VA
UNITED      STATES     OF AMERICA,


v.                                                                  CRIMINAL NO.            2:07crl2 5

FRANCISCO JAVIER MORALES,


                               Defendant.



                             ACCEPTANCE OF        PLEA OF GUILTY.
                                   ADJUDICATION OF GUILT                *"
                                                AND
                                   NOTICE   OF    SENTENCING


       Pursuant to the Report and Recommendation of the United States

Magistrate Judge,            to which there has been no timely objection,                           the

plea of guilty of the defendant to Count One                          (1)    of the indictment

is   now     ACCEPTED        and   the   defendant        is   ADJUDGED           GUILTY     of   such

offense.      Sentencing is hereby scheduled for June 26,                               2 008, at 2:00

p.m.



       The    Clerk     is    DIRECTED     to     forward      a   copy      of    this     Order    to

counsel for defendant and to the Assistant United States Attorney.

       IT    IS   SO   ORDERED.

                                                                     /s/
                                                      Rebecca Beach Smith
                                                      United States District Judge

                                             REBECCA BEACH           SMITH
                                             UNITED STATES           DISTRICT JUDGE

Norfolk Virginia

April 9t\     , 2008
